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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

PATRICK THOMAS O’NEALL,                     )
                                            )
              Petitioner,                   )
                                            )
       v.                                   )       Case No. 4:17-cv-01297-AGF
                                            )
DEAN MINOR,                                 )
                                            )
              Respondent.                   )

                            MEMORANDUM AND ORDER

       This matter is before the Court on the pro se motion of habeas Petitioner Patrick

Thomas O’Neall “for leave to file Rule 60(b) demand for law hearing due to

inadvert[e]nce, mistake of fact, and fraud involving this Court’s Memorandum and Order

of Judgment issued on September 14, 2020 denying any and all relief and denying any

certificate of appe[a]lability to Petitioner in this case.” ECF No. 39 at 1. Respondent has

not responded to the motion, and the time to do so has passed.

       In his motion, Petitioner asserts that legal documents from his state court

proceedings have been withheld in bad faith from this Court, and he seeks 90 days within

which to produce such documents. Id. at 2. However, Petitioner does not explain what

documents were withheld, why he could not have produced them earlier, or how they

would have changed the Court’s analysis.

       The Court gave careful consideration to the arguments Petitioner presented in his

habeas petition, and the Court continues to believe that Petitioner is not entitled to relief

for the reasons previously stated.
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      Accordingly,

      IT IS HEREBY ORDERED that Petitioner Patrick Thomas O’Neall’s motion for

relief under Rule 60(b) is DENIED. ECF No. 39.


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                                        AUDREY G. FLEISSIG
                                        UNITED STATES DISTRICT JUDGE

Dated this 16th day of October, 2020.




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